            Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 1 of 67




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

 CONVERSANT WIRELESS LICENSING                   )
 S.A.R.L.,                                       )
                                                 )
                 Plaintiff,                      )
                                                 )       Civil No. 6:20-cv-00324
        v.                                       )
                                                 )       JURY TRIAL DEMANDED
 TESLA, INC.,                                    )
                                                 )
                 Defendant.                      )

                ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Conversant Wireless Licensing S.A.R.L. (“Conversant”) files this Complaint for

patent infringement against Defendant Tesla, Inc. (“Tesla” or “Defendant”), alleging as follows:

                                       NATURE OF SUIT

       1.       This is a claim for patent infringement arising under the patent laws of the United

States, Title 35 of the United States Code.

                                              PARTIES

       2.       Plaintiff Conversant Wireless Licensing S.A.R.L. (“Conversant”) is a corporation

duly organized and existing under the laws of the Grand Duchy of Luxembourg, having a principal

place of business at 12, rue Jean Engling, L-1466, Luxembourg. Conversant has a regular and

established place of business and does business relating to the Patents-in-Suit, as defined in

section I below, in connection with its wholly-owned subsidiary, Conversant Wireless Licensing

Ltd. (“Conversant USA”), a corporation duly organized and existing under the laws of the State of

Texas, having a principal place of business at 5630 Granite Parkway #100-247, Suite 247, Plano,

TX 75024.      All pertinent documents and discovery relevant to this matter either reside at




                                                                                      Page 1 of 67
            Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 2 of 67




Conversant USA’s local address or will be produced at that address. Conversant is the owner of

record of the Patents-in-Suit in this action.

       3.       Defendant Tesla, Inc. (“Tesla” or “Defendant”) is a corporation organized under

the laws of the State of Delaware, having a principal place of business at 3500 Deer Creek Road,

Palo Alto, CA 94304. Tesla may do business with the fictitious name Tesla Motors, Inc. Tesla

can be served with process through its registered agent in the State of Texas, CT Corporation, 1999

Bryan St., Suite 900, Dallas, Texas 75201-3136.

                                 JURISDICTION AND VENUE

       4.       This action arises under the patent laws of the United States, 35 U.S.C. § 101, et

seq. This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1338(a).

       5.       Tesla is subject to personal jurisdiction in this Court. This Court has personal

jurisdiction over Tesla because Tesla has engaged in continuous, systematic, and substantial

activities within this State, including substantial marketing and sales of products within this State

and this District. Furthermore, upon information and belief, this Court has personal jurisdiction

over Tesla because Tesla has committed acts giving rise to Conversant’s claims for patent

infringement within and directed to this District.

       6.       Upon information and belief, Tesla has conducted and does conduct substantial

business in this forum, directly and/or through subsidiaries, agents, representatives, or

intermediaries, such substantial business including but not limited to: (i) at least a portion of the

direct and indirect acts of infringement alleged herein; (ii) purposefully and voluntarily placing

one or more infringing products into the stream of commerce with the expectation that they will

be purchased by consumers in this forum; or (iii) regularly doing or soliciting business, engaging

in other persistent courses of conduct, or deriving substantial revenue from goods and services




                                                                                       Page 2 of 67
            Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 3 of 67




provided to individuals in Texas and in this judicial district. Thus, Tesla is subject to this Court’s

specific and general personal jurisdiction pursuant to due process and the Texas Long Arm Statute.

       7.       Upon information and belief, Tesla has committed acts of infringement in this

District and has one or more regular and established places of business within this District under

28 U.S.C. § 1400(b). Thus, venue is proper in this District under 28 U.S.C. § 1400(b).

       8.       Tesla maintains a permanent physical presence within this District. For example,

it maintains galleries at (1) 12845 Research Boulevard, Austin, Texas 78759; (2) 11600 Century

Oaks Terrace, Austin, Texas 78758; and (3) 23011 IH-10 West, San Antonio, Texas 78257. Tesla

also maintains service centers in this District, including at 12845 Research Boulevard, Austin,

Texas 78759; 23011 IH-10 West, San Antonio, Texas 78257; and 28 Walter Jones, Suite C, El

Paso, Texas. Tesla conducts business from at least these locations. Tesla employs employees who

work at Tesla’s locations in this District.

       9.       In addition, Tesla maintains charging stations throughout this District. Tesla

features commercial signage at each Supercharger station identifying the location as a regular and

established place of Tesla’s business.        Moreover, Superchargers are monitored closely and

regularly serviced by Tesla Service Technicians. Tesla’s Supercharging stations in this District

include at least at the following locations: (1) Austin, TX – Research Boulevard Supercharger,

9607 Research Boulevard, Austin, TX 78759; (2) Austin, TX Supercharger, 6406 N. Interstate 35

Frontage Road, Austin, TX 78752; (3) El Paso Supercharger, 6401 South Desert Boulevard, El

Paso, Texas 79932; (4) Fort Stockton, TX Supercharger, 2571 North Front Street, Fort Stockton,

Texas 79735; (5) Giddings, TX Supercharger, 3025 East Austin Street, Giddings, Texas 78942;

(6) Junction Supercharger, 2415 N Main Street, Junction, Texas 76849; (7) Leon Springs, TX

Supercharger, 24165 I-10 #300, San Antonio, Texas 78357; (8) Midland Supercharger, 3001




                                                                                        Page 3 of 67
         Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 4 of 67




Antelope Trail, Midland, Texas 79706; (9) Pecos, TX Supercharger, 100 East Pinehurst Street,

Pecos, Texas 79772; (10) San Antonio, TX Supercharger, 11745 I-10, San Antonio, Texas 78230;

(11) San Marcos, TX Supercharger, 3939 Interstate 35, San Marcos, Texas 78666; (12) Van Horn

Supercharger, 1921 Frontage Rd, Van Horn, Texas 79855; and (13) Waco Supercharger, 701

Interstate 35, Bellmead, Texas 76705. Upon information and belief, Tesla also has eight (8)

Supercharging stations “coming soon” to this District.

       10.     Tesla’s locations in this District, including at least those identified in paragraphs 8

and 9 above, are regular and established places of business under 28 U.S.C. § 1391, 28 U.S.C.

§ 1400(b), and In re Cray, Inc., 871 F.3d 1355, 1360 (Fed. Cir. 2017).

               a.      Tesla’s locations in this District, including at least those identified in

       paragraphs 8 and 9 above, are physical places in this District. Each gallery and service

       center comprises one or more buildings set apart for the purpose of offering for sale, selling,

       showcasing, and/or servicing infringing products. Each Supercharging station comprises

       a physical area set apart for the purpose of charging infringing products. Indeed, Tesla

       itself advertises its physical locations in this District as places of its business and it features

       commercial signage at each location.

               b.      Tesla’s locations in this District, including at least those identified in

       paragraphs 8 and 9 above, are regular and established. Tesla features commercial signage

       at each location identifying the location as a regular and established place of Tesla’s

       business.

               c.      Tesla’s locations in this District, including at least those identified in

       paragraphs 8 and 9 above, are places of business of Tesla. Tesla offers its own products

       and services for sale at its locations.




                                                                                            Page 4 of 67
           Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 5 of 67




               d.      Tesla’s locations in this District, including at least those identified in

       paragraphs 8 and 9 above, are physical, geographical locations in this District from which

       Tesla carries out its business.

               e.      Tesla employees work at Tesla’s locations, including at least those

       identified in paragraphs 8 and 9 above.        Upon information and belief, these Tesla

       employees are regularly and physically present at Tesla’s locations, including at least those

       identified in paragraphs 8 and 9 above, during business hours and they are conducting

       Tesla’s business while working there.

       11.     Further, upon information and belief, Tesla trains future employees (specifically,

electric vehicle technicians) in this District at Tesla’s START Training Program housed at Texas

State Technical College in Waco, Texas. Tesla provides the instructor, training equipment,

vehicles, tools, and curriculum for the program. Students are employed by Tesla as hourly interns,

and following completion of the program they are placed in a Tesla Service Center in North

America.

                                  FACTUAL ALLEGATIONS

I.     PATENTS-IN-SUIT

       12.     United States Patent No. 7,606,205 (“the ’205 Patent”) is entitled “System and

Method for Providing Selection Diversity for Multicasting Content.” The ’205 Patent duly and

legally issued on October 20, 2009, from U.S. Patent Application No. 10/281,200, filed on October

28, 2002. The ’205 Patent names Karri Ranta-Aho and Anttti Toskala as inventors. Conversant

is the current owner of all rights, title, and interest in and to the ’205 Patent. A true and correct

copy of the ’205 Patent is attached hereto as Exhibit A and is incorporated by reference herein.

       13.     United States Patent No. 7,684,357 (“the ’357 Patent”) is entitled “Enhanced

Pre-Notification Procedure for GERAN MBMS.” The ’357 Patent duly and legally issued on


                                                                                       Page 5 of 67
            Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 6 of 67




March 23, 2010 from U.S. Patent Application No. 11/226,566, filed on September 14, 2005. The

’357 Patent is related to provisional application No. 60/611,140, filed on September 17, 2004. The

’357 Patent names Harri Jokinen, Guillaume Sebire, and Rami Vaittinen as inventors. Conversant

is the current owner of all rights, title, and interest in and to the ’357 Patent. A true and correct

copy of the ’357 Patent is attached hereto as Exhibit B and is incorporated by reference herein.

          14.   United States Patent No. 10,548,119 (“the ’119 Patent”) is entitled “Fixed

HS-DSCH or E-DCH Allocation for VoIP (or HS-DSCH Without HS-SCCH/E-DCH Without

E-DPCCH).” The ’119 Patent duly and legally issued on January 28, 2020 from U.S. Patent

Application No. 16/247,701, filed on January 15, 2019. The ’119 Patent is a continuation of

application No. 15/611,214, filed on June 21, 2017, now United States Patent No. 10,244,516.

United States Patent No. 10,244,516 is a continuation of application No. 14/330,211, filed on

July 14, 2014, now United States Patent No. 9,763,231. United States Patent No. 9,763,231 is a

continuation of application No. 11/411,995, filed on April 25, 2006, now United States Patent

No. 8,804,505. The ’119 Patent is entitled to the benefit of the April 25, 2006 filing date of United

States Patent No. 8,804,505. The ’119 Patent is related to provisional application No. 60/675,127,

filed on April 26, 2005. The ’119 Patent names Esa Malkamaki and Markku Kuusela as inventors.

Conversant is the current owner of all rights, title, and interest in and to the ’119 Patent. A true

and correct copy of the ’119 Patent is attached hereto as Exhibit C and is incorporated by reference

herein.

          15.   Collectively, the ’205 Patent, the ’357 Patent, and the ’119 Patent are referred to

herein as the “Patents-in-Suit.”

II.       BACKGROUND

          16.   In 2011, Conversant acquired a portfolio of close to 2,000 patents and patent

applications previously owned by Nokia Corporation (“Nokia”), obtaining all right, title, and


                                                                                       Page 6 of 67
           Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 7 of 67




interest in, to and under the patents and patent applications in the portfolio, including without

limitation the right to sue for past, present, or future infringements of the patents and patent

applications acquired. By reason of the aforesaid, Conversant has, since 2011, been the owner of

the Patents-in-Suit and the right to enforce them. Before Conversant became the owner of the

Patents-in-Suit, the Patents-in-Suit were originally invented by agents or employees of, procured

by, or assigned to Nokia.

       17.     Nokia is and has been a member of the European Telecommunications Standards

Institute (“ETSI”), a non-profit Standard Setting Organization headquartered in France.

Conversant and/or Nokia have made declarations in respect of the Patents-in-Suit to ETSI, one of

the organizational partners of the Third Generation Partnership Project (“3GPP”) that organizes

and maintains the development of telecommunications standards applicable to mobile

communications products, devices, and services. Telecommunications standards applicable to

wireless mobile communications devices include second generation technologies such as Global

System for Mobile (“GSM”) and GSM Packet Radio Service (“GPRS”), third generation

technologies such as Universal Mobile Telecommunications System (“UMTS”) and High Speed

Packet Access (“HSPA”), and fourth generation technologies such as Long-Term Evolution

(“LTE”).     With respect to the Patents-in-Suit, the declarations and affirmations made by

Conversant and/or Nokia include a provision to the effect that the declarant is prepared to grant

irrevocable licenses to the Patents-in-Suit on fair, reasonable, and non-discriminatory (“FRAND”)

terms. Conversant has specifically agreed to grant a license to the Patents-in-Suit under FRAND

terms to willing licensees who negotiate in good faith. For example, on July 22, 2014, Conversant

made a declaration to ETSI to the effect that it is willing and prepared to grant irrevocable licenses

on terms and conditions that are FRAND with respect to the patents that it owns that cover




                                                                                        Page 7 of 67
             Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 8 of 67




functionality that has been implemented in mobile communications devices that are in compliance

with the requirements and technical specifications of the mobile communications standards that

are promulgated by and maintained by 3GPP.

III.    CONVERSANT’S ATTEMPTS TO LICENSE TESLA

        18.      On or about December 18, 2018, Conversant sent a letter and FRAND licensing

offer to Tesla. The letter stated, “Conversant Wireless owns an extensive patent portfolio related

to mobile communications networks, which includes hundreds of patents and patent applications

that have been declared essential to 2G, 3G and 4G mobile standards.” Conversant then offered a

FRAND license to its applicable standard-essential patent (“SEP”) portfolio:               “Conversant

Wireless is offering a FRAND license to its SEP portfolio to manufacturers of vehicles with

cellular functionality, including Tesla.” As part of its FRAND offer, Conversant provided Tesla

with access to a Share File site which included representative claim charts for Conversant’s patent

portfolio.

        19.      In addition, Conversant is a member of the Avanci patent pool. As such, upon

information and belief, Avanci also offered Tesla a FRAND license to Conversant’s SEP patent

portfolio, among other patents.

        20.      As of December 18, 2018, the Shared Site provided by Conversant to Tesla

included over 20 claim charts for Conversant’s Standard Essential Patents issued in the United

States and foreign countries. At least by having access to this Shared Site, Tesla had knowledge

of each of the Patents-in-Suit and its infringement of such patents, prior to the filing of this lawsuit.

        21.      After Tesla ignored Conversant’s December 18, 2018 FRAND license offer, on

February 26, 2019, Conversant again contacted Tesla to follow up on its previous offer, stating in




                                                                                           Page 8 of 67
          Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 9 of 67




part, “As you are well aware, FRAND licensing of Standard Essential Patents (SEPs) requires

active participation of both sides in the negotiations.”

       22.     Tesla finally responded on April 4, 2019 but failed to provide any material response

to Conversant’s FRAND offer and related correspondence.

       23.     After no further communication from Tesla, on or about February 26, 2020,

Conversant filed patent infringement complaints against Tesla, Inc. and its German subsidiary

Tesla Germany GmbH before the Manheim Regional Court in Germany.

       24.     On March 16, 2020, Conversant again contacted Tesla, informing it of the German

patent infringement complaints, stating “Tesla’s failure to provide a material response or any

further communication raises doubts as to its actual willingness to take a license. We also

understand that Tesla has not taken the parallel pool offer from Avanci, which presents an

alternative opportunity to license our portfolio. . . . We remain open and willing to discuss our

bilateral license offer and hope that a meeting can be arranged promptly.”

       25.     On March 26, 2020, Tesla responded by requesting a copy of the German patent

infringement complaints and indicating that “Tesla is and remains a willing licensee of the

Conversant portfolio for applicable standard-essential-patents (“SEP”),” and suggested that Tesla

would formulate a counteroffer for Conversant’s portfolio for applicable SEPs.

       26.     On April 6, 2020, Conversant responded by again offering a FRAND license to its

SEP portfolio: “I can confirm that our applicable SEPs can be licensed either through the Avanci

pool or by way of our bilateral FRAND license offer presented to you in December 2019. As we




                                                                                      Page 9 of 67
           Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 10 of 67




understand that you have declined our bilateral FRAND offer, we now look forward to your

mentioned counter offer.”

          27.   To date, Tesla has not taken a license to Conversant’s patent portfolio, or any of

the Patents-in-Suit.

IV.       THE TESLA STANDARD-COMPLIANT PRODUCTS

          28.   As further discussed below, Tesla has directly and indirectly infringed and

continues to directly and indirectly infringe each of the Patents-in-Suit by engaging in acts

constituting infringement under 35 U.S.C. § 271(a), (b), and/or (c), including without limitation

by one or more of making, using, selling and offering to sell, in this District and elsewhere in the

United States, and importing into this District and elsewhere in the United States Tesla’s connected

vehicle products (the “Tesla Standard-Compliant Products”).

          29.   Tesla is doing business in the United States, and, more particularly, in the this

District by making, using, selling, importing, and/or offering for sale the Tesla

Standard-Compliant Products, including without limitation Tesla’s Model S, Model 3, Model X,

Model Y, Cybertruck, and Roadster that infringe one or more of the patent claims involved in this

action.

          30.   Upon information and belief, and as widely reported, the Tesla Standard-Compliant

Products, including the above-referenced connected vehicles, are compliant with at least 3G and/or

4G/LTE cellular network standards . See, e.g., Tesla unveils world’s first mass-produced, highway

capable EV, Tesla Investors, Mar. 26, 2009, https://ir.tesla.com/news-releases/news-release-

details/tesla-unveils-worlds-first-mass-produced-highway-capable-ev (describing “in-car 3G

connectivity”); Roger Cheng, Tesla taps AT&T to bring cellular connection to its cars, CNET,

Oct. 17, 2013, https://www.cnet.com/news/tesla-taps-at-t-to-bring-cellular-connection-to-its-cars

(describing 3G and HSPA+ capability); First LTE-enabled Tesla Model S delivered, Electrek, June


                                                                                     Page 10 of 67
           Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 11 of 67




5, 2015, https://electrek.co/2015/06/05/first-lte-enabled-model-s-delivered (reporting new Model

S delivered with working 4G/LTE capability); Tesla to Acquire SolarCity: Presentation to Proxy

Advisory Firms, Form S-4 File No.:333-213390, Oct. 25, 2016, at 16 (stating vehicle features

include 4G/LTE connectivity); Russ Mitchell, Tesla Model 3 has some unusual features, including

an         instrument-free        dash,       Seattle       Times,           Aug.          5,        2017,

https://www.seattletimes.com/business/tesla-model-3-has-some-unusual-features-including-an-

instrument-free-dash (reporting Model 3 is 4G/LTE capable); Ryan Whittwam, Tesla will begin

charging       $10   per     month      for   “Premium”         LTE   features,     Dec.        9,   2019,

https://www.extremetech.com/extreme/303159-tesla-will-begin-charging-10-per-month-for-

premium-lte-features (reporting that all Tesla vehicles are 4G/LTE capable) (collectively attached

hereto as Exhibit D).

        31.      Tesla’s Support webpage confirms that the Tesla Standard-Compliant Products,

including Tesla’s Model 3, Model S, Model X, and Model Y connected vehicles, come with

cellular      connection     capabilities.      See,    e.g.,     Support:     Connectivity,         Tesla,

https://www.tesla.com/support/connectivity (attached hereto as Exhibit E). At a minimum, Tesla

offers its connectively package with 3G and 4G/LTE cellular free for the first year (for orders of

Model S, Model X, Model Y, and Model 3 with Premium Interior) and 30 days (for orders of

Model 3 Standard Range and Standard Range Plus), and charges $9.99 per month thereafter. See

id.

       32.       Further, the Owner’s Manuals for the Tesla Standard-Compliant Products,

including Tesla’s Model 3, Model S, Model X, and Model Y connected vehicles, confirm that the

Tesla Standard-Compliant Products are compliant with at least 3G and/or 4G/LTE cellular network

standards.     For example, the Owner’s Manual for the Model S describes how the internet




                                                                                           Page 11 of 67
         Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 12 of 67




connection of the Model S can be switched from a cellular connection (“usually LTE or 3G”) to a

Wi-Fi connection. See, e.g., Model S Owner’s Manual, v. 2020.4 North America, at 156 (attached

hereto as Exhibit F).

                   COUNT 1—INFRINGEMENT OF THE ’205 PATENT

       33.      Conversant incorporates by reference the allegations set forth in Paragraphs 1–32

of this Complaint as though fully set forth herein.

       34.     In violation of 35 U.S.C. § 271(a), Tesla is and has been directly infringing one or

more of the ’205 Patent’s claims, including at least Claim 21, by making, using, offering to sell,

and/or selling in the United States, and/or importing into the United States, without authority,

products that support 3G and/or 4G/LTE connectivity, including without limitation the Tesla

Standard-Compliant Products as defined above. Each of the Tesla Standard-Compliant Products

comprises hardware and software components that together practice every element of one or more

claims of the ’205 Patent, including at least Claim 21. These components include those hardware

and software components that enable the set of wireless cellular communications functionalities

known as 3G and/or 4G/LTE and implement 3G and/or 4G/LTE in compliance with the

requirements of the technical standards applicable to mobile communications, including the

technical standards promulgated by 3GPP and various subsequent releases and versions thereof.

These components enable the Tesla Standard-Compliant Products to perform 3G and/or 4G/LTE

communications functionality.

       35.     It is necessary to practice one or more of the claims of the ’205 Patent to comply

with the requirements of certain standards applicable to mobile communications. For example, it




                                                                                    Page 12 of 67
         Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 13 of 67




is necessary to practice at least Claim 21 from the ’205 Patent to comply with certain 3G and/or

4G/LTE standards.

       36.     The Tesla Standard-Compliant Products comply with the applicable standards

covered by the claims of the ’205 Patent.

       37.     The Tesla Standard Compliant Products comprise at least the apparatus of Claim

21 of the ’205 Patent.

       38.     By way of example, Claim 21 of the ’205 Patent requires “a receiver configured to

receive multicasting content from one or more cells in a network.”

       39.     The applicable standards covered by the claims of the ’205 Patent, including but

not limited to 3GPP TS 36.300 V12.8.0 (2015-12), describe a receiver configured to receive

multicasting content from one or more cells in a network:




                                                                                  Page 13 of 67
 Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 14 of 67




15     MBMS

....

MBSFN Area: an MBSFN Area consists of a group of cells within an MBSFN
Synchronization Area of a network, which are co-ordinated to achieve an MBSFN
Transmission. Except for the MBSFN Area Reserved Cells, all cells within an
MBSFN Area contribute to the MBSFN Transmission and advertise its availability.
The UE may only need to consider a subset of the MBSFN areas that are configured,
i.e. when it knows which MBSFN area applies for the service(s) it is interested to
receive.




                        Figure 15-1: MBMS Definitions

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                                                                           Page 14 of 67
         Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 15 of 67




       15.1.2            E-MBMS User Plane Protocol Architecture

       The overall U-plane architecture of content synchronization is shown in Figure
       15.1.2-1. This architecture is based on the functional allocation for Unicast and
       the SYNC protocol layer is defined additionally on transport network layer to
       support content synchronization mechanism.

                 UE                       eNB                                          BM-SC
                                                                MBMS
                                                                Gateway
                MBMS                                                                   MBMS
                packet                                                                 packet

                                            SYNC                                      SYNC


                 RLC                RLC
                                                TNL              TNL                    TNL
                MAC                 MAC

                 PHY                PHY                 M1


                                                                       SYNC: Protocol to synchronise
                                                                       data used to generate a certain
                                                                       radio frame


             Figure 15.1.2-1: The overall u-plane architecture of the MBMS content
                                        synchronization

(3GPP TS 36.300 V12.8.0 (2015-12), at 128–29, 131–32.)

       40.       By way of example, Claim 21 of the ’205 Patent requires “a receiver

configured . . . to receive cell information from at least one cells.”




                                                                                                Page 15 of 67
           Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 16 of 67




       41.      The applicable standards covered by the claims of the ’205 Patent, including but

not limited to 3GPP TS 36.331 V12.8.0 (2015-12), describe a receiver configured to receive cell

information from at least one cells:

       6.2      RRC messages

       ....

       6.2.2 Message definitions

       –        SystemInformation

       The SystemInformation message is used to convey one or more System Information
       Blocks. All the SIBs included are transmitted with the same periodicity.

             Signalling radio bearer: N/A

             RLC-SAP: TM

             Logical channel: BCCH

             Direction: E UTRAN to UE

       ....

       6.3      RRC information elements

       ....

       –        SystemInformationBlockType13

       The IE SystemInformationBlockType13 contains the information required to
       acquire the MBMS control information associated with one or more MBSFN areas.

                      SystemInformationBlockType13 information element




       ....




                                                                                  Page 16 of 67
           Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 17 of 67




       –       MBSFN-AreaId

       The IE MBSFN-AreaId identifies an MBSFN area by means of a locally unique
       value at lower layers i.e. it concerns parameter NIDMBSFN in TS 36.211 [21,
       6.10.2.1].

                             MBSFN-AreaId information element




       –       MBSFN-AreaInfoList

       The IE MBSFN-AreaInfoList contains the information required to acquire the
       MBMS control information associated with one or more MBSFN areas.

                          MBSFN-AreaInfoList information element




(3GPP TS 36.331 V12.8.0 (2015-12), at 159, 163, 213, 232–33, 365.)

       42.     By way of example, Claim 21 of the ’205 Patent requires the limitation “wherein

said cell information indicates which cells transmit the same multicasting content.”




                                                                                       Page 17 of 67
        Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 18 of 67




       43.         The applicable standards covered by the claims of the ’205 Patent, including but

not limited to 3GPP TS 36.211 V12.4.0 (2014-12), describe cell information indicating which cells

transmit the same multicasting content:

       6.10.2                   MBSFN reference signals

       MBSFN reference signals shall be transmitted in the MBSFN region of MBSFN
       subframes only when the PMCH is transmitted. MBSFN reference signals are
       transmitted on antenna port 4.

       MBSFN reference signals are defined for extended cyclic prefix only.

       6.10.2.1                 Sequence generation

       The MBSFN reference-signal sequence rl ,ns (m) is defined by

       rl , ns ( m) 
                        1
                            1  2  c(2m)   j   1
                                                       1  2  c(2m  1) ,   m  0,1,...,6 N RB
                                                                                               max, DL
                                                                                                       1
                        2                          2

       where ns is the slot number within a radio frame and l is the OFDM symbol number
       within the slot. The pseudo-random sequence c(i) is defined in clause 7.2. The
       pseudo-random                  sequence            generator       shall      be     initialised with
       cinit  29  7  ns  1  l  1  2  N ID
                                                    MBSFN
                                                           1  N ID
                                                                   MBSFN
                                                                         at the start of each OFDM symbol.

       ....




                                                                                                            Page 18 of 67
        Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 19 of 67




                                                   R4
                                         R4                 R4
                                                   R4
                                         R4                 R4
                                                   R4
                                         R4                 R4
                                                   R4
                                         R4                 R4
                                                   R4
                                         R4                 R4
                                                   R4
                                         R4                 R4
                                  l 0        l 5l  0      l 5




          Figure 6.10.2.2-1: Mapping of MBSFN reference signals (extended cyclic
                                    prefix, f  15 kHz )

(3GPP TS 36.211 V12.4.0 (2014-12), at 91–92).

       44.       In addition, the applicable standards covered by the claims of the ’205 Patent,

including but not limited to 3GPP TS 36.331 V12.8.0 (2015-12), describe cell information

indicating which cells transmit the same multicasting content:

       5.8       MBMS

       ....

       5.8.1.1          General

       ....

       A limited amount of MBMS control information is provided on the BCCH. This
       primarily concerns the information needed to acquire the MCCH(s). This
       information is carried by means of a single MBMS specific
       SystemInformationBlock: SystemInformationBlockType13. An MBSFN area is
       identified solely by the mbsfn-AreaId in SystemInformationBlockType13. At
       mobility, the UE considers that the MBSFN area is continuous when the source cell
       and the target cell broadcast the same value in the mbsfn-AreaId.

(3GPP TS 36.331 V12.8.0 (2015-12), at 139.)




                                                                                  Page 19 of 67
         Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 20 of 67




       45.       By way of example, Claim 21 of the ’205 Patent requires “a processor configured

to select at least one cell, from said one or more cells.”

       46.       The applicable standards covered by the claims of the ’205 Patent, including but

not limited to 3GPP TS 36.300 V12.8.0 (2015-12), describe a processor configured to select at

least one cell, from said one or more cells:

       15.4      Service Continuity

       Mobility procedures for MBMS reception allow the UE to start or continue
       receiving MBMS service(s) via MBSFN when changing cell(s). E-UTRAN
       procedures provide support for service continuity with respect to mobility within
       the same MBSFN area. Within the same geographic area, MBMS services can be
       provided on more than one frequency and the frequencies used to provide MBMS
       services may change from one geographic area to another within a PLMN.

       UEs that are receiving MBMS service(s) in RRC_IDLE state performing cell
       reselection or are in RRC_CONNECTED state obtain target cell MTCH
       information from the target cell MCCH.

       ....

             -   user service description (USD): in the USD (see 3GPP TS 26.346 [49]), the
                 application/service layer provides for each service the TMGI, the session
                 start and end time, the frequencies and the MBMS service area identities
                 (MBMS SAIs, see definition in section 15.3 of 3GPP TS 23.003 [26])
                 belonging to the MBMS service area (see definition in 3GPP TS 23.246
                 [48]);

       ....

       In RRC_IDLE, the UE applies the normal cell reselection rules with the following
       modifications:

             -   the UE which is receiving MBMS service(s) via MBSFN and can only
                 receive these MBMS service(s) via MBSFN while camping on the
                 frequency providing these MBMS service(s) is allowed to make this
                 frequency highest priority;

       ....




                                                                                   Page 20 of 67
           Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 21 of 67




       In RRC_CONNECTED, the UE that is receiving or interested to receive MBMS
       via MBSFN informs the network about its MBMS interest via a RRC message and
       the network does its best to ensure that the UE is able to receive MBMS and unicast
       services subject to the UE’s capabilities:

             -   the UE indicates the frequencies which provide the service(s) that the UE is
                 receiving or is interested to receive simultaneously, and which can be
                 received simultaneously in accordance with the UE capabilities.

             -   the UE indicates its MBMS interest at RRC connection establishment (the
                 UE does not need to wait until AS security is activated), and whenever the
                 set of frequencies on which the UE is interested in receiving MBMS
                 services has changed compared with the last indication sent to the network
                 (e.g. due to a change of user interest or of service availability).

(3GPP TS 36.300 V12.8.0 (2015-12), at 137–38.)

       47.       In addition, the applicable standards covered by the claims of the ’205 Patent,

including but not limited to 3GPP TS 36.133 V12.8.0 (2015-07), describe a processor configured

to select at least one cell, from said one or more cells:

       3         Definitions, symbols and abbreviations

       ....

       3.3       Abbreviations

       ....

       RSRP Reference Signal Received Power

       RSRQ Reference Signal Received Quality

       ....




                                                                                      Page 21 of 67
           Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 22 of 67




       4         E-UTRAN RRC_IDLE state mobility

       ....

       4.4       MBSFN Measurements

       4.4.1     Introduction

       ....

       UE shall measure MBSFN RSRP, MBSFN RSRQ and MCH BLER only in
       subframes and on carriers where UE is decoding PMCH. The requirements are
       specified for any carrier where PMCH is received by UE. The requirements
       specified in this section apply for any carrier frequency with configured MBSFN
       subframes with PMCH, which may be the same as or different from any serving
       unicast carrier.

(3GPP TS 36.133 V12.8.0 (2015-07), at 44, 47–48, 51, 63.)

       48.       In addition, the applicable standards covered by the claims of the ’205 Patent,

including but not limited to 3GPP TS 36.304 V12.6.0 (2015-09), describe a processor configured

to select at least one cell, from said one or more cells:

       5.2.4            Cell Reselection evaluation process

       5.2.4.1          Reselection priorities handling

       ....

       If the UE is capable of MBMS Service Continuity and receiving or interested to
       receive an MBMS service and can only receive this MBMS service while camping
       on a frequency on which it is provided, the UE may consider that frequency to be
       the highest priority during the MBMS session [2] as long as the reselected cell is
       broadcasting SIB13 and as long as:

             -   SIB15 of the serving cell indicates for that frequency one or more MBMS
                 SAIs included in the MBMS User Service Description (USD) [22] of this
                 service; or

             -   SIB15 is not broadcast in the serving cell and that frequency is included in
                 the USD of this service.

       ....




                                                                                      Page 22 of 67
         Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 23 of 67




       5.2.4.6 Intra-frequency and equal priority inter-frequency Cell Reselection
       criteria

       The cell-ranking criterion Rs for serving cell and Rn for neighbouring cells is
       defined by:




       where:




       ....

       In all cases, the UE shall reselect the new cell, only if the following conditions are
       met:

             -   the new cell is better ranked than the serving cell during a time interval
                 TreselectionRAT;

             -   more than 1 second has elapsed since the UE camped on the current serving
                 cell.

(3GPP TS 36.304 V12.6.0 (2015-09), at 18, 22–23.)

       49.       By way of example, Claim 21 of the ’205 Patent requires a processor configured to

select at least one cell “from which to receive the multicasting content the terminal is interested in

based at least in part on said cell information.”

       50.       The applicable standards covered by the claims of the ’205 Patent, including but

not limited to 3GPP TS 36.300 V12.8.0 (2015-12), describe a processor configured to select at




                                                                                       Page 23 of 67
         Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 24 of 67




least one cell from which to receive the multicasting content the terminal is interested in based at

least in part on said cell information:

       15.4      Service Continuity

       Mobility procedures for MBMS reception allow the UE to start or continue
       receiving MBMS service(s) via MBSFN when changing cell(s). E-UTRAN
       procedures provide support for service continuity with respect to mobility within
       the same MBSFN area. Within the same geographic area, MBMS services can be
       provided on more than one frequency and the frequencies used to provide MBMS
       services may change from one geographic area to another within a PLMN.

       UEs that are receiving MBMS service(s) in RRC_IDLE state performing cell
       reselection or are in RRC_CONNECTED state obtain target cell MTCH
       information from the target cell MCCH.

(3GPP TS 36.300 V12.8.0 (2015-12), at 137.)

       51.       In addition, the applicable standards covered by the claims of the ’205 Patent,

including but not limited to 3GPP TS 36.331 V12.8.0 (2015-12), describe a processor configured

to select at least one cell from which to receive the multicasting content the terminal is interested

in based at least in part on said cell information:

       5.8       MBMS

       ....

       5.8.1.1          General

       ....

       A limited amount of MBMS control information is provided on the BCCH. This
       primarily concerns the information needed to acquire the MCCH(s). This
       information is carried by means of a single MBMS specific
       SystemInformationBlock: SystemInformationBlockType13. An MBSFN area is
       identified solely by the mbsfn-AreaId in SystemInformationBlockType13. At
       mobility, the UE considers that the MBSFN area is continuous when the source cell
       and the target cell broadcast the same value in the mbsfn-AreaId.

(3GPP TS 36.331 V12.8.0 (2015-12), at 139.)

       52.       Upon information and belief, the Tesla Standard-Compliant Products comply or

have complied with the applicable standards covered by the claims of the ’205 Patent, including


                                                                                      Page 24 of 67
           Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 25 of 67




without limitation 3G and/or 4G/LTE, and therefore infringe the ’205 Patent, including at least

Claim 21.

          53.     The Tesla Standard-Compliant Products have complied, and continue to comply,

with 3GPP TS 36.300 V12.8.0 (2015-12).

          54.     The Tesla Standard-Compliant Products have complied, and continue to comply,

with 3GPP TS 36.331 V12.8.0 (2015-12).

          55.     The Tesla Standard-Compliant Products have complied, and continue to comply,

with 3GPP TS 36.211 V12.4.0 (2014-12).

          56.     The Tesla Standard-Compliant Products have complied, and continue to comply,

with 3GPP TS 36.133 V12.8.0 (2015-07).

          57.     The Tesla Standard-Compliant Products have complied, and continue to comply,

with 3GPP TS 36.304 V12.6.0 (2015-09).

          58.     Tesla is infringing claims of the ’205 Patent literally and/or pursuant to the doctrine

of equivalents.

          59.     In violation of 35 U.S.C. § 271(b), Tesla is and has been infringing one or more of

the ’205 Patent’s claims, including at least Claim 21, indirectly by inducing the infringement of

the ’205 Patent’s claims by third parties, including without limitation manufacturers, resellers,

and/or users of Tesla’s Standard-Compliant Products, in this District, and elsewhere in the United

States.     Direct infringement is the result of activities performed by users of the Tesla

Standard-Compliant Products in accordance with the claims of the ’205 Patent.

          60.     Tesla’s affirmative acts of selling the Tesla’s Standard-Compliant Products,

causing the Tesla Standard-Compliant Products to be manufactured and distributed, providing

instructive materials and information concerning operation and use of the Tesla




                                                                                          Page 25 of 67
         Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 26 of 67




Standard-Compliant Products, and maintenance/service for such products, induced users of the

Tesla Standard-Compliant Products to infringe the ’205 Patent’s claims by using the vehicles in

their normal and customary way. By and through these acts, Tesla knowingly and specifically

intends the users of the Tesla Standard-Compliant Products to infringe the ’205 Patent’s claims.

Tesla (1) knows and knew of the ’205 Patent at least prior to the filing of this lawsuit, (2) performs

affirmative acts that constitute induced infringement, and (3) knows or should know that those acts

would induce actual infringement of one or more of the ’205 Patent’s claims by users of the Tesla

Standard-Compliant Products.

       61.     In violation of 35 U.S.C. § 271(c), Tesla is and has been infringing one or more of

the ’205 Patent’s claims, including at least Claim 21, indirectly by contributing to the infringement

of the ’205 Patent’s claims by third parties, including without limitation manufacturers, resellers,

and/or users of the Tesla Standard-Compliant Products, in this District, and elsewhere in the United

States. Direct infringement is the result of activities performed by manufacturers, resellers, and/or

users in relation to the Tesla Standard-Compliant Products, including without limitation use of the

Tesla Standard-Compliant Products.

       62.     Upon information and belief, Tesla at least installs, configures, and sells Tesla

Standard-Compliant Products with distinct and separate hardware and/or software components

especially made or especially adapted to practice the invention claimed in the ’205 Patent. That

hardware and/or software is a material part of the invention. That hardware and/or software is not

a staple article or commodity of commerce because it is specifically designed to perform the




                                                                                       Page 26 of 67
         Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 27 of 67




claimed functionality. Any other use of that hardware and/or software would be unusual, far-

fetched, illusory, impractical, occasional, aberrant, or experimental.

       63.     Therefore, upon information and belief, Tesla is making, using, offering to sell,

and/or selling in the United States, and/or importing into the United States, without authority, a

component of a patented machine, manufacture, combination or composition, or a material or an

apparatus for use in practicing a patented process, constituting a material part of the invention,

knowing the same to be especially made or especially adapted for use in infringement of a patent,

and not a staple article or commodity of commerce suitable for substantial noninfringing use.

       64.     As explained above, Tesla had actual notice of the ’205 Patent prior to this lawsuit

being filed and had knowledge of the infringing nature of its activities. Nevertheless, Tesla

continued its infringing activities.

       65.     Instead of taking a FRAND license to Conversant’s patent portfolio, Tesla

continues, in bad faith, to directly and indirectly infringe Conversant’s patents, including the

’205 Patent by making, using, offering for sale and selling infringing Tesla Standard-Compliant

Products, and inducing and contributing to the infringement of others.

       66.     Therefore, upon information and belief, Tesla’s infringement of the ’205 Patent’s

claims, including at least Claim 21, has been and continues to be willful entitling Conversant to

increased damages pursuant to 35 U.S.C. § 284 and to attorneys’ fees and costs incurred in

prosecuting this action pursuant to 35 U.S.C. § 285.

       67.     Tesla’s acts of infringement have caused damages to Conversant, and Conversant

is entitled to recover from Tesla the damages sustained by Conversant as a result of Tesla’s

wrongful acts in an amount to be determined at trial.




                                                                                    Page 27 of 67
         Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 28 of 67




                   COUNT 2—INFRINGEMENT OF THE ’357 PATENT

       68.     Conversant incorporates by reference the allegations set forth in Paragraphs 1–67

of this Complaint as though fully set forth herein.

       69.     In violation of 35 U.S.C. § 271(a), Tesla is and has been directly infringing one or

more of the ’357 Patent’s claims, including at least Claim 29, by making, using, offering to sell,

and/or selling in the United States, and/or importing into the United States, without authority,

products that support 3G and/or 4G/LTE connectivity, including without limitation the Tesla

Standard-Compliant Products as defined above. Each of the Tesla Standard-Compliant Products

comprises hardware and software components that together practice every element of one or more

claims of the ’357 Patent, including at least Claim 29. These components include those hardware

and software components that enable the set of wireless cellular communications functionalities

known as 3G and/or 4G/LTE and implement 3G and/or 4G/LTE in compliance with the

requirements of the technical standards applicable to mobile communications, including the

technical standards promulgated by 3GPP and various subsequent releases and versions thereof.

These components enable the Tesla Standard-Compliant Products to perform 3G and/or 4G/LTE

communications functionality.

       70.     It is necessary to practice one or more of the claims of the ’357 Patent to comply

with the requirements of certain standards applicable to mobile communications. For example, it




                                                                                    Page 28 of 67
           Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 29 of 67




is necessary to practice at least Claim 29 from the ’357 Patent to comply with certain 3G and/or

4G/LTE standards.

       71.       The Tesla Standard-Compliant Products comply with the applicable standards

covered by the claims of the ’357 Patent.

       72.       The Tesla Standard-Compliant Products are capable of performing, and when used

do in fact perform, the method of claim 29 of the ’357 Patent.

       73.       The applicable standards covered by the claims of the ’357 Patent describe, at least,

performing the method of claim 29 of the ’357 Patent.

       74.       By way of example, Claim 29 of the ’357 Patent requires a method including the

step of “receiving, by a mobile station, a pre-notification information that at least partially

identifies a multimedia broadcast/multicast service bearer service that is to be notified.”

       75.       The applicable standards covered by the claims of the ’357 Patent, including but

not limited to 3GPP TS 36.300 V14.5.0 (2017-12), describe a method including the step of

receiving, by a mobile station, a pre-notification information that at least partially identifies a

multimedia broadcast/multicast service bearer service that is to be notified:

       8         E-UTRAN identities

       ....

       8.4       MBMS related identities

       The following identities are used for SC-PTM transmission:

             -   SC-RNTI: Identifies transmissions of the SC-MCCH, and for NB-IoT UEs,
                 BL UEs or UEs in enhanced coverage identifies SC-MCCH change
                 notification;

             -   SC-N-RNTI: Identifies SC-MCCH change notification for UEs other than
                 NB-IoT UEs, BL UEs or UEs in enhanced coverage;




                                                                                       Page 29 of 67
 Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 30 of 67




     -   G-RNTI: Identifies transmissions of a SC-MTCH, and for NB-IoT UEs, BL
         UEs or UEs in enhanced coverage identifies SC-MCCH change
         notification.

....

15       MBMS

....

15.3     MBMS Transmission

15.3.1 General

Transmission of a MBMS in E-UTRAN uses either MBSFN transmission or SC-
PTM transmission. The MCE makes the decision on whether to use SC-PTM or
MBSFN for each MBMS session.

15.3.2 Single-cell transmission

Single-cell transmission of MBMS is characterized by:

     -   MBMS is transmitted in the coverage of a single cell;

     -   One SC-MCCH and one or more SC-MTCH(s) are mapped on DL-SCH;

     -   Scheduling is done by the eNB;

     -   SC-MCCH and SC-MTCH transmissions are each indicated by a logical
         channel specific RNTI on PDCCH (there is a one-to-one mapping between
         TMGI and G-RNTI used for the reception of the DL-SCH to which a SC-
         MTCH is mapped);

     -   A single transmission is used for DL-SCH (i.e. neither blind HARQ
         repetitions nor RLC quick repeat) on which SC-MCCH or SC-MTCH is
         mapped;

     -   SC-MCCH and SC-MTCH use the RLC-UM mode.

....




                                                                        Page 30 of 67
        Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 31 of 67




       15.3.5a           SC-MCCH structure

       The following principles govern the SC-MCCH structure:

       ....

          -   For NB-IoT UEs, BL UEs or UEs in enhanced coverage:

                 -   Two notification mechanisms are used to announce changes of SC-
                     MCCH due to Session Start:

                     -   A notification is sent in the DCI with SC-RNTI scheduling SC-
                         MCCH. When the UE receives the notification, it acquires the SC-
                         MCCH in the same modification period;

                     -   A notification is sent in the DCI with G-RNTI scheduling SC-
                         MTCH. When the UE receives the notification, it acquires the SC-
                         MCCH in the next modification period;

                 -   One notification mechanism is used to announce changes of SC-MCCH
                     for the ongoing service:

                     -   The notification is sent in the DCI with G-RNTI scheduling SC-
                         MTCH. When the UE receives the notification, it acquires the SC-
                         MCCH in the next modification period.

(3GPP TS 36.300 V14.5.0 (2017-12), at 89, 91, 157, 162, 165.)




                                                                                   Page 31 of 67
            Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 32 of 67




        76.     In addition, the applicable standards covered by the claims of the ’357 Patent,

including but not limited to 3GPP TS 36.331 V14.5.1 (2018-01), describe a method including the

step of receiving, by a mobile station, a pre-notification information that at least partially identifies

a multimedia broadcast/multicast service bearer service that is to be notified:

        5       Procedures

        ....

        5.8a    SC-PTM

        5.8a.1 Introduction

        5.8a.1.1        General

        SC-PTM control information is provided on a specific logical channel: the SC-
        MCCH. The SC-MCCH carries the SCPTMConfiguration message which indicates
        the MBMS sessions that are ongoing as well as the (corresponding) information on
        when each session may be scheduled, i.e. scheduling period, scheduling window
        and start offset. The SCPTMConfiguration message also provides information
        about the neighbour cells transmitting the MBMS sessions which are ongoing on
        the current cell. In this release of the specification, an SC-PTM capable UE is only
        required to support reception of a single MBMS service at a time, and reception of
        more than one MBMS service in parallel is left for UE implementation.

        ....




                                                                                          Page 32 of 67
 Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 33 of 67




5.8a.1.3      SC-MCCH information validity and notification of changes

....

When the network changes SC-MTCH specific information e.g. start of new
MBMS service(s) transmitted using SC-PTM or change of ongoing MBMS
service(s) transmitted using SC-PTM, it notifies the BL UEs, UEs in CE or NB-IoT
UEs in the PDCCH which schedules the SC-MTCH in the current modification
period. The notification is transmitted with a 2 bit bitmap. The LSB in the 2-bit
bitmap, when set to '1', indicates the change of the on-going MBMS service and the
MSB in the 2-bit bitmap, when set to '1', indicates the start of new MBMS
service(s), see TS 36.212 [22, 5.3.3.1.12 & 5.3.3.1.13 & 6.4.3.2]. In the case the
network changes an on-going SC-MTCH transmission in the next modification
period, it notifies the BL UEs, UEs in CE or NB-IoT UEs in the PDCCH which
schedules this SC-MTCH in the current modification period. In the case the
network starts new MBMS service(s) transmitted using SC-PTM, the network
notifies the UEs which have on-going SC-MTCH in the PDCCH scheduling each
of the SC-MTCH. Upon receiving such notification, a BL UE, UE in CE or NB-
IoT UE acquires the new SC-MCCH information at the start of the next
modification period. The BL UE, UE in CE or NB-IoT UE applies the previously
acquired SC-MCCH information until the BL UE, UE in CE or NB-IoT UE
acquires the new SC-MCCH information.

....




                                                                           Page 33 of 67
           Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 34 of 67




       6         Protocol data units, formats and parameters (tabular & ASN.1)

       ....

       6.3       RRC information elements

       ....

       6.3.7a SC-PTM information elements

             –   SC-MTCH-InfoList

       The IE SC-MTCH-InfoList provides the list of ongoing MBMS sessions transmitted
       via SC-MRB and for each MBMS session, the associated G-RNTI and scheduling
       information.




(3GPP TS 36.331 V14.5.1 (2018-01), at 35, 206–07, 245, 321, 568.)

       77.       The method of Claim 29 of the ’357 Patent requires the step of “determining if the

pre-notification information identifies a multimedia broadcast/multicast service bearer service for

a multimedia broadcast/multicast service session to be received by the mobile station.”




                                                                                     Page 34 of 67
           Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 35 of 67




       78.     The applicable standards covered by the claims of the ’357 Patent, including but

not limited to 3GPP TS 36.331 V14.5.1 (2018-01), describe the step of determining if the pre-

notification information identifies a multimedia broadcast/multicast service bearer service for a

multimedia broadcast/multicast service session to be received by the mobile station:

       5       Procedures

       ....

       5.8a    SC-PTM

       5.8a.1 Introduction

       ....

       5.8a.1.3       SC-MCCH information validity and notification of changes

       ....

       When the network changes SC-MTCH specific information e.g. start of new
       MBMS service(s) transmitted using SC-PTM or change of ongoing MBMS
       service(s) transmitted using SC-PTM, it notifies the BL UEs, UEs in CE or NB-IoT
       UEs in the PDCCH which schedules the SC-MTCH in the current modification
       period. The notification is transmitted with a 2 bit bitmap. The LSB in the 2-bit
       bitmap, when set to '1', indicates the change of the on-going MBMS service and the
       MSB in the 2-bit bitmap, when set to '1', indicates the start of new MBMS
       service(s), see TS 36.212 [22, 5.3.3.1.12 & 5.3.3.1.13 & 6.4.3.2]. In the case the
       network changes an on-going SC-MTCH transmission in the next modification
       period, it notifies the BL UEs, UEs in CE or NB-IoT UEs in the PDCCH which
       schedules this SC-MTCH in the current modification period. In the case the
       network starts new MBMS service(s) transmitted using SC-PTM, the network
       notifies the UEs which have on-going SC-MTCH in the PDCCH scheduling each
       of the SC-MTCH. Upon receiving such notification, a BL UE, UE in CE or NB-
       IoT UE acquires the new SC-MCCH information at the start of the next
       modification period. The BL UE, UE in CE or NB-IoT UE applies the previously
       acquired SC-MCCH information until the BL UE, UE in CE or NB-IoT UE
       acquires the new SC-MCCH information.

       ....




                                                                                   Page 35 of 67
           Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 36 of 67




       6       Protocol data units, formats and parameters (tabular & ASN.1)

       ....

       6.3     RRC information elements

       ....

       6.3.7a SC-PTM information elements

       ....




(3GPP TS 36.331 V14.5.1 (2018-01), at 35, 206–07, 245, 321, 568–69.)

       79.     In addition, The applicable standards covered by the claims of the ’357 Patent,

including but not limited to 3GPP TS 36.300 V14.5.0 (2017-12), describe the step of determining

if the pre-notification information identifies a multimedia broadcast/multicast service bearer

service for a multimedia broadcast/multicast service session to be received by the mobile station:

       15      MBMS

       ....

       15.3    MBMS Transmission

       15.3.1 General

       Transmission of a MBMS in E-UTRAN uses either MBSFN transmission or SC-
       PTM transmission. The MCE makes the decision on whether to use SC-PTM or
       MBSFN for each MBMS session.




                                                                                    Page 36 of 67
 Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 37 of 67




15.3.2 Single-cell transmission

Single-cell transmission of MBMS is characterized by:

   -   MBMS is transmitted in the coverage of a single cell;

   -   One SC-MCCH and one or more SC-MTCH(s) are mapped on DL-SCH;

   -   Scheduling is done by the eNB;

   -   SC-MCCH and SC-MTCH transmissions are each indicated by a logical
       channel specific RNTI on PDCCH (there is a one-to-one mapping between
       TMGI and G-RNTI used for the reception of the DL-SCH to which a SC-
       MTCH is mapped);

   -   A single transmission is used for DL-SCH (i.e. neither blind HARQ
       repetitions nor RLC quick repeat) on which SC-MCCH or SC-MTCH is
       mapped;

   -   SC-MCCH and SC-MTCH use the RLC-UM mode.

....




                                                                      Page 37 of 67
         Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 38 of 67




       15.3.5a           SC-MCCH structure

       The following principles govern the SC-MCCH structure:

       ....

             -   For NB-IoT UEs, BL UEs or UEs in enhanced coverage:

                 -   Two notification mechanisms are used to announce changes of SC-
                     MCCH due to Session Start:

                     -   A notification is sent in the DCI with SC-RNTI scheduling SC-
                         MCCH. When the UE receives the notification, it acquires the SC-
                         MCCH in the same modification period;

                     -   A notification is sent in the DCI with G-RNTI scheduling SC-
                         MTCH. When the UE receives the notification, it acquires the SC-
                         MCCH in the next modification period;

                 -   One notification mechanism is used to announce changes of SC-MCCH
                     for the ongoing service:

                     -   The notification is sent in the DCI with G-RNTI scheduling SC-
                         MTCH. When the UE receives the notification, it acquires the SC-
                         MCCH in the next modification period.

(3GPP TS 36.300 V14.5.0 (2017-12), at 157, 162, 165.)

       80.       The method of Claim 29 of the ’357 Patent requires the step of “wherein the pre-

notification information comprises at least a portion of a temporary mobile group identity.”




                                                                                    Page 38 of 67
         Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 39 of 67




       81.       The applicable standards covered by the claims of the ’357 Patent, including but

not limited to 3GPP TS 36.300 V14.5.0 (2017-12), describe the step of wherein the pre-notification

information comprises at least a portion of a temporary mobile group identity:

       15        MBMS

       ....

       15.3      MBMS Transmission

       15.3.1 General

       Transmission of a MBMS in E-UTRAN uses either MBSFN transmission or SC-
       PTM transmission. The MCE makes the decision on whether to use SC-PTM or
       MBSFN for each MBMS session.

       15.3.2 Single-cell transmission

       Single-cell transmission of MBMS is characterized by:

             -   MBMS is transmitted in the coverage of a single cell;

             -   One SC-MCCH and one or more SC-MTCH(s) are mapped on DL-SCH;

             -   Scheduling is done by the eNB;

             -   SC-MCCH and SC-MTCH transmissions are each indicated by a logical
                 channel specific RNTI on PDCCH (there is a one-to-one mapping between
                 TMGI and G-RNTI used for the reception of the DL-SCH to which a SC-
                 MTCH is mapped);

             -   A single transmission is used for DL-SCH (i.e. neither blind HARQ
                 repetitions nor RLC quick repeat) on which SC-MCCH or SC-MTCH is
                 mapped;

             -   SC-MCCH and SC-MTCH use the RLC-UM mode.

       ....




                                                                                    Page 39 of 67
        Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 40 of 67




       15.3.5a           SC-MCCH structure

       The following principles govern the SC-MCCH structure:

       ....

             -   For NB-IoT UEs, BL UEs or UEs in enhanced coverage:

                 -   Two notification mechanisms are used to announce changes of SC-
                     MCCH due to Session Start:

                     -   A notification is sent in the DCI with SC-RNTI scheduling SC-
                         MCCH. When the UE receives the notification, it acquires the SC-
                         MCCH in the same modification period;

                     -   A notification is sent in the DCI with G-RNTI scheduling SC-
                         MTCH. When the UE receives the notification, it acquires the SC-
                         MCCH in the next modification period;

                 -   One notification mechanism is used to announce changes of SC-MCCH
                     for the ongoing service:

                     -   The notification is sent in the DCI with G-RNTI scheduling SC-
                         MTCH. When the UE receives the notification, it acquires the SC-
                         MCCH in the next modification period.

(3GPP TS 36.300 V14.5.0 (2017-12), at 157, 162, 165.)

       82.       Upon information and belief, the Tesla Standard-Compliant Products comply or

have complied with the applicable standards covered by the claims of the ’357 Patent, including

without limitation 3G and/or 4G/LTE, and therefore infringe the ’357 Patent, including at least

Claim 29.

       83.       The Tesla Standard-Compliant Products have complied, and continue to comply,

with 3GPP TS 36.300 V14.5.0 (2017-12).

       84.       The Tesla Standard-Compliant Products have complied, and continue to comply,

with 3GPP TS 36.331 V14.5.1 (2018-01).

       85.       The Tesla Standard-Compliant Products have complied, and continue to comply,

with 3GPP TS 23.003 V14.6.0 (2017-12).



                                                                                   Page 40 of 67
           Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 41 of 67




          86.   Tesla is infringing claims of the ’357 Patent, including at least Claim 29, literally

and/or pursuant to the doctrine of equivalents.

          87.   In violation of 35 U.S.C. § 271(b), Tesla is and has been infringing one or more of

the ’357 Patent’s claims, including at least Claim 29, indirectly by inducing the infringement of

the ’357 Patent’s claims by third parties, including without limitation manufacturers, resellers,

and/or users of Tesla’s Standard-Compliant Products, in this District, and elsewhere in the United

States.     Direct infringement is the result of activities performed by users of the Tesla

Standard-Compliant Products in accordance with the claims of the ’357 Patent.

          88.   Tesla’s affirmative acts of selling the Tesla’s Standard-Compliant Products,

causing the Tesla Standard-Compliant Products to be manufactured and distributed, providing

instructive materials and information concerning operation and use of the Tesla

Standard-Compliant Products, and maintenance/service for such products, induced users of the

Tesla Standard-Compliant Products to infringe the ’357 Patent’s claims by using the vehicles in

their normal and customary way. By and through these acts, Tesla knowingly and specifically

intends the users of the Tesla Standard-Compliant Products to infringe the ’357 Patent’s claims.

Tesla (1) knows and knew of the ’357 Patent since at least prior to the filing of this lawsuit,

(2) performs affirmative acts that constitute induced infringement, and (3) knows or should know

that those acts would induce actual infringement of one or more of the ’357 Patent’s claims by

users of the Tesla Standard-Compliant Products.

          89.   In violation of 35 U.S.C. § 271(c), Tesla is and has been infringing one or more of

the ’357 Patent’s claims, including at least Claim 29, indirectly by contributing to the infringement

of the ’357 Patent’s claims by third parties, including without limitation manufacturers, resellers,

and/or users of the Tesla Standard-Compliant Products, in this District, and elsewhere in the United




                                                                                      Page 41 of 67
         Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 42 of 67




States. Direct infringement is the result of activities performed by manufacturers, resellers, and/or

users in relation to the Tesla Standard-Compliant Products, including without limitation use of the

Tesla Standard-Compliant Products.

       90.     Upon information and belief, Tesla at least installs, configures, and sells Tesla

Standard-Compliant Products with distinct and separate hardware and/or software components

especially made or especially adapted to practice the invention claimed in the ’357 Patent. That

hardware and/or software is a material part of the invention. That hardware and/or software is not

a staple article or commodity of commerce because it is specifically designed to perform the

claimed functionality. Any other use of that hardware and/or software would be unusual, far-

fetched, illusory, impractical, occasional, aberrant, or experimental.

       91.     Therefore, upon information and belief, Tesla is making, using, offering to sell,

and/or selling in the United States, and/or importing into the United States, without authority, a

component of a patented machine, manufacture, combination or composition, or a material or an

apparatus for use in practicing a patented process, constituting a material part of the invention,

knowing the same to be especially made or especially adapted for use in infringement of a patent,

and not a staple article or commodity of commerce suitable for substantial noninfringing use.

       92.     As explained above, Tesla had actual notice of the ’357 Patent prior to this lawsuit

being filed and had knowledge of the infringing nature of its activities. Nevertheless, Tesla

continued its infringing activities.

       93.     Instead of taking a FRAND license to Conversant’s patent portfolio, Tesla

continues, in bad faith, to directly and indirectly infringe Conversant’s patents, including the




                                                                                      Page 42 of 67
         Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 43 of 67




’357 Patent by making, using, offering for sale and selling infringing Tesla Standard-Compliant

Products, and inducing and contributing to the infringement of others.

       94.     Therefore, upon information and belief, Tesla’s infringement of the ’357 Patent’s

claims, including at least Claim 29, has been and continues to be willful entitling Conversant to

increased damages pursuant to 35 U.S.C. § 284 and to attorneys’ fees and costs incurred in

prosecuting this action pursuant to 35 U.S.C. § 285.

       95.     Tesla’s acts of infringement have caused damages to Conversant, and Conversant

is entitled to recover from Tesla the damages sustained by Conversant as a result of Tesla’s

wrongful acts in an amount to be determined at trial.

                   COUNT 3—INFRINGEMENT OF THE ’119 PATENT

       96.     Conversant incorporates by reference the allegations set forth in Paragraphs 1–95

of this Complaint as though fully set forth herein.

       97.     In violation of 35 U.S.C. § 271(a), Tesla is and has been directly infringing one or

more of the ‘119 Patent’s claims, including at least Claim 1, by making, using, offering to sell,

and/or selling in the United States, and/or importing into the United States, without authority,

products that support 3G and/or 4G/LTE connectivity, including without limitation the Tesla

Standard-Compliant Products as defined above. Each of the Tesla Standard-Compliant Products

comprises hardware and software components that together practice every element of one or more

claims of the ‘119 Patent, including at least Claim 1. These components include those hardware

and software components that enable the set of wireless cellular communications functionalities

known as 3G and/or 4G/LTE and implement 3G and/or 4G/LTE in compliance with the

requirements of the technical standards applicable to mobile communications, including the

technical standards promulgated by 3GPP and various subsequent releases and versions thereof.




                                                                                    Page 43 of 67
            Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 44 of 67




These components enable the Tesla Standard-Compliant Products to perform 3G and/or 4G/LTE

communications functionality.

        98.     It is necessary to practice one or more of the claims of the ‘119 Patent to comply

with the requirements of certain standards applicable to mobile communications. For example, it

is necessary to practice at least Claim 1 from the ‘119 Patent to comply with certain 3G and/or

4G/LTE standards.

        99.     The Tesla Standard-Compliant Products comply with the applicable standards

covered by the claims of the ‘119 Patent.

        100.    The Tesla Standard-Compliant Products meet the limitations of Claim 1 of the

‘119 Patent.

        101.    The applicable standards covered by the claims of the ‘119 Patent describe, at least,

the mobile station of Claim 1 of the ‘119 Patent.

        102.    By way of example, Claim 1 of the ‘119 Patent requires a mobile station comprising

“at least one processor; and at least one memory configured to, with the at least one processor,

cause the mobile station to: receive control information signalled from a radio access network over

a physical layer downlink shared control channel, the control information comprising transport

format parameters used on a shared data channel corresponding to the shared control channel and

an indicator indicating whether the transport format parameters are to be stored by the mobile

station.”

        103.    The applicable standards covered by the claims of the ‘119 Patent, including but

not limited to 3GPP TS 36.213 V10.3.0 (2011-09), describe a mobile station comprising at least

one processor; and at least one memory configured to, with the at least one processor, cause the

mobile station to: receive control information signalled from a radio access network over a




                                                                                      Page 44 of 67
               Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 45 of 67




physical layer downlink shared control channel, the control information comprising transport

format parameters used on a shared data channel corresponding to the shared control channel and

an indicator indicating whether the transport format parameters are to be stored by the mobile

station:

           7       Physical downlink shared channel related procedures

           ....

           7.1     UE procedure for receiving the physical downlink shared channel

           Except the subframes indicated by the higher layer parameter mbsfn-
           SubframeConfigList, a UE shall upon detection of a PDCCH of a serving cell with
           DCI format 1, 1A, 1B, 1C, 1D, 2, 2A, 2B or 2C intended for the UE in a subframe,
           decode the corresponding PDSCH in the same subframe with the restriction of the
           number of transport blocks defined in the higher layers.

           ....

           If a UE is configured by higher layers to decode PDCCH with CRC scrambled by
           the SPS C-RNTI, the UE shall decode the PDCCH on the primary cell and any
           corresponding PDSCH on the primary cell according to the respective
           combinations defined in Table 7.1-6. The same PDSCH related configuration
           applies in the case that a PDSCH is transmitted without a corresponding PDCCH.
           The scrambling initialization of PDSCH corresponding to these PDCCHs and
           PDSCH without a corresponding PDCCH is by SPS C-RNTI.

(3GPP TS 36.213 V10.3.0 (2011-09), at 23, 26.)




                                                                                    Page 45 of 67
               Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 46 of 67




           104.    In addition, the applicable standards covered by the claims of the ’119 Patent,

including but not limited to 3GPP TS 36.212 V11.4.0 (2013-12), describe a mobile station at least

one processor; and at least one memory configured to, with the at least one processor, cause the

mobile station to: receive control information signalled from a radio access network over a

physical layer downlink shared control channel, the control information comprising transport

format parameters used on a shared data channel corresponding to the shared control channel and

an indicator indicating whether the transport format parameters are to be stored by the mobile

station:

           4       Mapping to physical channels

           ....

           4.2     Downlink

           Table 4.2-1 specifies the mapping of the downlink transport channels to their
           corresponding physical channels. Table 4.2-2 specifies the mapping of the
           downlink control channel information to its corresponding physical channel.

           ....

                                             Table 4.2-2




           5       Channel coding, multiplexing and interleaving

           ....

           5.3     Downlink transport channels and control information

           ....

           5.3.3   Downlink control information

           ....



                                                                                    Page 46 of 67
 Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 47 of 67




5.3.3.1 DCI formats

....

5.3.3.1.2        Format 1

DCI format 1 is used for the scheduling of one PDSCH codeword in one cell.

The following information is transmitted by means of the DCI format 1:

   - Carrier indicator – 0 or 3 bits. This field is present according to the definitions
       in [3].

   - Resource allocation header (resource allocation type 0 / type 1) – 1 bit as
      defined in section 7.1.6 of [3]

       If downlink bandwidth is less than or equal to 10 PRBs, there is no resource
           allocation header and resource allocation type 0 is assumed.

   - Resource block assignment:

       - For resource allocation type 0 as defined in section 7.1.6.1 of [3]:

            - N RB
                 DL
                    / P  bits provide the resource allocation

       - For resource allocation type 1 as defined in section 7.1.6.2 of [3]:

            - log 2 P  bits of this field are used as a header specific to this resource
                 allocation type to indicate the selected resource blocks subset

            - 1 bit indicates a shift of the resource allocation span

            -   N   DL
                      RB                       
                           / P  log 2 P   1   bits provide the resource allocation

   where the value of P depends on the number of DL resource blocks as indicated
      in section 7.1.6.1 of [3]

   - Modulation and coding scheme – 5 bits as defined in section 7.1.7 of [3]

   - HARQ process number – 3 bits (FDD), 4 bits (TDD)

   - New data indicator – 1 bit

   - Redundancy version – 2 bits

   - TPC command for PUCCH – 2 bits as defined in section 5.1.2.1 of [3]

....


                                                                                           Page 47 of 67
 Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 48 of 67




5.3.3.1.3       Format 1A

DCI format 1A is used for the compact scheduling of one PDSCH codeword in one
cell and random access procedure initiated by a PDCCH order. The DCI
corresponding to a PDCCH order can be carried by PDCCH or EPDCCH.

The following information is transmitted by means of the DCI format 1A:

   - Carrier indicator – 0 or 3 bits. This field is present according to the definitions
       in [3].

   - Flag for format0/format1A differentiation – 1 bit, where value 0 indicates
       format 0 and value 1 indicates format 1A

   Format 1A is used for random access procedure initiated by a PDCCH order
      only if format 1A CRC is scrambled with C-RNTI and all the remaining
      fields are set as follows:

       - Localized/Distributed VRB assignment flag – 1 bit is set to ‘0’

       - Resource block assignment – bits, where all bits shall be set to 1

       - Preamble Index – 6 bits

       - PRACH Mask Index – 4 bits, [5]

       - All the remaining bits in format 1A for compact scheduling assignment of
           one PDSCH codeword are set to zero

   Otherwise,

   - Localized/Distributed VRB assignment flag – 1 bit as defined in 7.1.6.3 of [3]

   - Resource block assignment – log 2 ( N RB
                                            DL     DL
                                               ( N RB  1) / 2)  bits as defined in section
       7.1.6.3 of [3]:

       - For localized VRB:

            log 2 ( N RBDL ( N RBDL  1) / 2)   bits provide the resource allocation

       - For distributed VRB:
                   DL
            - If N RB  50 or if the format 1A CRC is scrambled by RA-RNTI, P-
                RNTI, or SI-RNTI

                - log 2 ( N RB
                             DL     DL
                                ( N RB  1) / 2)  bits provide the resource allocation




                                                                                          Page 48 of 67
           Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 49 of 67




                     - Else

                         - 1 bit, the MSB indicates the gap value, where value 0 indicates
                             N gap  N gap,1 and value 1 indicates N gap  N gap,2


                         - ( log 2 ( N RB
                                        DL     DL
                                           ( N RB  1) / 2)   1) bits provide the resource allocation,

                  where N gap is defined in [2].

             - Modulation and coding scheme – 5bits as defined in section 7.1.7 of [3]

             - HARQ process number – 3 bits (FDD) , 4 bits (TDD)

             - New data indicator – 1 bit

(3GPP TS 36.212 V11.4.0 (2013-12), at 7–8, 54, 58–61.)

       105.       In addition, the applicable standards covered by the claims of the ’119 Patent,

including but not limited to 3GPP TS 36.321 V10.3.0 (2011-09), describe a mobile station

comprising at least one processor; and at least one memory configured to, with the at least one

processor, cause the mobile station to: receive control information signalled from a radio access

network over a physical layer downlink shared control channel, the control information comprising

transport format parameters used on a shared data channel corresponding to the shared control

channel and an indicator indicating whether the transport format parameters are to be stored by the

mobile station:

       5          MAC procedures

       ....

       5.3        DL-SCH data transfer

       5.3.1      DL Assignment reception

       Downlink assignments transmitted on the PDCCH indicate if there is a transmission
       on a DL-SCH for a particular UE and provide the relevant HARQ information.

       When the UE has a C-RNTI, Semi-Persistent Scheduling C-RNTI, or Temporary
       C-RNTI, the UE shall for each TTI during which it monitors PDCCH and for each
       Serving Cell:


                                                                                                Page 49 of 67
Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 50 of 67




 -   if a downlink assignment for this TTI and this Serving Cell has been
     received on the PDCCH for the UE’s C-RNTI, or Temporary C RNTI:

     -   if this is the first downlink assignment for this Temporary C-RNTI:

         -   consider the NDI to have been toggled.

     -   if the downlink assignment is for UE’s C-RNTI and if the previous
         downlink assignment indicated to the HARQ entity of the same HARQ
         process was either a downlink assignment received for the UE’s Semi-
         Persistent Scheduling C-RNTI or a configured downlink assignment:

         -   consider the NDI to have been toggled regardless of the value of the
             NDI.

     -   indicate the presence of a downlink assignment and deliver the
         associated HARQ information to the HARQ entity for this TTI.

 -   else, if this Serving Cell is the PCell and a downlink assignment for this TTI
     has been received for the PCell on the PDCCH of the PCell for the UE’s
     Semi-Persistent Scheduling C-RNTI:

     -   if the NDI in the received HARQ information is 1:

         -   consider the NDI not to have been toggled;

         -   indicate the presence of a downlink assignment and deliver the
             associated HARQ information to the HARQ entity for this TTI.

     -   else, if the NDI in the received HARQ information is 0:

         -   if PDCCH contents indicate SPS release:

             -   clear the configured downlink assignment (if any);

             -   if timeAlignmentTimer is running:

                 -   indicate a positive acknowledgement for the downlink SPS
                     release to the physical layer.

         -   else:

             -   store the downlink assignment and the associated HARQ
                 information as configured downlink assignment;

             -   initialise (if not active) or re-initialise (if already active) the
                 configured downlink assignment to start in this TTI and to recur
                 according to rules in subclause 5.10.1;



                                                                             Page 50 of 67
           Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 51 of 67




                       -   set the HARQ Process ID to the HARQ Process ID associated
                           with this TTI;

                       -   consider the NDI bit to have been toggled;

                       -   indicate the presence of a configured downlink assignment and
                           deliver the stored HARQ information to the HARQ entity for
                           this TTI.

(3GPP TS 36.321 V10.3.0 (2011-09), at 12, 18–19.)

       106.    Claim 1 of the ’119 Patent requires a mobile station comprising “at least one

processor; and at least one memory configured to, with the at least one processor, cause the mobile

station to . . . receive data packets on the shared data channel using the control information,

wherein the mobile station is configured to” carry out certain capabilities.

       107.    The applicable standards covered by the claims of the ‘119 Patent, including but

not limited to 3GPP TS 36.213 V10.3.0 (2011-09), describe a mobile station comprising at least

one processor; and at least one memory configured to, with the at least one processor, cause the

mobile station to . . . receive data packets on the shared data channel using the control information,

wherein the mobile station is configured to” carry out certain capabilities:

       7       Physical downlink shared channel related procedures

       ....

       7.1     UE procedure for receiving the physical downlink shared channel

       Except the subframes indicated by the higher layer parameter mbsfn-
       SubframeConfigList, a UE shall upon detection of a PDCCH of a serving cell with
       DCI format 1, 1A, 1B, 1C, 1D, 2, 2A, 2B or 2C intended for the UE in a subframe,
       decode the corresponding PDSCH in the same subframe with the restriction of the
       number of transport blocks defined in the higher layers.

(3GPP TS 36.213 V10.3.0 (2011-09), at 23.)

       108.    Claim 1 of the ’119 Patent requires a mobile station configured to “determine, using

a mask for the mobile station, whether first control information is present for the mobile station,

and in the event that the first control information is present for the mobile station, receiving first


                                                                                       Page 51 of 67
           Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 52 of 67




said data packets on the shared data channel using the first control information and storing the

transport format parameters from the first control information.”

       109.    The applicable standards covered by the claims of the ‘119 Patent, including but

not limited to 3GPP TS 36.321 V10.3.0 (2011-09), describe a mobile station configured to

determine, using a mask for the mobile station, whether first control information is present for the

mobile station, and in the event that the first control information is present for the mobile station,

receiving first said data packets on the shared data channel using the first control information and

storing the transport format parameters from the first control information:

       5       MAC procedures

       ....

       5.3     DL-SCH data transfer

       5.3.1   DL Assignment reception

       Downlink assignments transmitted on the PDCCH indicate if there is a transmission
       on a DL-SCH for a particular UE and provide the relevant HARQ information.

       When the UE has a C-RNTI, Semi-Persistent Scheduling C-RNTI, or Temporary
       C-RNTI, the UE shall for each TTI during which it monitors PDCCH and for each
       Serving Cell:




                                                                                       Page 52 of 67
Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 53 of 67




 -   if a downlink assignment for this TTI and this Serving Cell has been
     received on the PDCCH for the UE’s C-RNTI, or Temporary C RNTI:

     -   if this is the first downlink assignment for this Temporary C-RNTI:

         -   consider the NDI to have been toggled.

     -   if the downlink assignment is for UE’s C-RNTI and if the previous
         downlink assignment indicated to the HARQ entity of the same HARQ
         process was either a downlink assignment received for the UE’s Semi-
         Persistent Scheduling C-RNTI or a configured downlink assignment:

         -   consider the NDI to have been toggled regardless of the value of the
             NDI.

     -   indicate the presence of a downlink assignment and deliver the
         associated HARQ information to the HARQ entity for this TTI.

 -   else, if this Serving Cell is the PCell and a downlink assignment for this TTI
     has been received for the PCell on the PDCCH of the PCell for the UE’s
     Semi-Persistent Scheduling C-RNTI:

     -   if the NDI in the received HARQ information is 1:

         -   consider the NDI not to have been toggled;

         -   indicate the presence of a downlink assignment and deliver the
             associated HARQ information to the HARQ entity for this TTI.

     -   else, if the NDI in the received HARQ information is 0:

         -   if PDCCH contents indicate SPS release:

             -   clear the configured downlink assignment (if any);

             -   if timeAlignmentTimer is running:

                 -   indicate a positive acknowledgement for the downlink SPS
                     release to the physical layer.

         -   else:

             -   store the downlink assignment and the associated HARQ
                 information as configured downlink assignment;

             -   initialise (if not active) or re-initialise (if already active) the
                 configured downlink assignment to start in this TTI and to recur
                 according to rules in subclause 5.10.1;



                                                                             Page 53 of 67
           Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 54 of 67




                       -   set the HARQ Process ID to the HARQ Process ID associated
                           with this TTI;

                       -   consider the NDI bit to have been toggled;

                       -   indicate the presence of a configured downlink assignment and
                           deliver the stored HARQ information to the HARQ entity for
                           this TTI.

(3GPP TS 36.321 V10.3.0 (2011-09), at 12, 18.)

       110.    In addition, the applicable standards covered by the claims of the ’119 Patent,

including but not limited to 3GPP TS 36.213 V10.3.0 (2011-09), describe a mobile station

configured to determine, using a mask for the mobile station, whether first control information is

present for the mobile station, and in the event that the first control information is present for the

mobile station, receiving first said data packets on the shared data channel using the first control

information and storing the transport format parameters from the first control information:

       7       Physical downlink shared channel related procedures

       ....

       7.1     UE procedure for receiving the physical downlink shared channel

       ....

       If a UE is configured by higher layers to decode PDCCH with CRC scrambled by
       the SPS C-RNTI, the UE shall decode the PDCCH on the primary cell and any
       corresponding PDSCH on the primary cell according to the respective
       combinations defined in Table 7.1-6. The same PDSCH related configuration
       applies in the case that a PDSCH is transmitted without a corresponding PDCCH.
       The scrambling initialization of PDSCH corresponding to these PDCCHs and
       PDSCH without a corresponding PDCCH is by SPS C-RNTI.

       When a UE is configured in transmission mode 7, scrambling initialization of UE-
       specific reference signals corresponding to these PDCCHs is by SPS C-RNTI.




                                                                                       Page 54 of 67
           Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 55 of 67




       When a UE is configured in transmission mode 9, in the subframes indicated by the
       higher layer parameter mbsfn-SubframeConfigList except in subframes for the
       serving cell

             -   indicated by higher layers to decode PMCH or,

             -   configured by higher layers to be part of a positioning reference signal
                 occasion and the positioning reference signal occasion is only configured
                 within MBSFN subframes and the cyclic prefix length used in subframe #0
                 is normal cyclic prefix,

       the UE shall upon detection of a PDCCH with CRC scrambled by the SPS C-RNTI
       with DCI format 1A or 2C or for a configured PDSCH without PDCCH intended
       for the UE, decode the corresponding PDSCH in the same subframe.

       ....

       9         Physical downlink control channel procedures

       ....

       9.2       PDCCH validation for semi-persistent scheduling

       A UE shall validate a Semi-Persistent Scheduling assignment PDCCH only if all
       the following conditions are met:

             - the CRC parity bits obtained for the PDCCH payload are scrambled with the
                Semi-Persistent Scheduling C-RNTI

             -   the new data indicator field is set to ‘0’. In case of DCI formats 2, 2A, 2B
                 and 2C, the new data indicator field refers to the one for the enabled
                 transport block.

       Validation is achieved if all the fields for the respective used DCI format are set
       according to Table 9.2-1 or Table 9.2-1A.

       If validation is achieved, the UE shall consider the received DCI information
       accordingly as a valid semi-persistent activation or release.

       If validation is not achieved, the received DCI format shall be considered by the
       UE as having been received with a non-matching CRC.

(3GPP TS 36.213 V10.3.0 (2011-09), at 23, 26–27, 88, 91–92.)

       111.      Claim 1 of the ’119 Patent requires a mobile station configured to “after receiving

the first data packets, determine, using the mask for the mobile station, whether second control




                                                                                      Page 55 of 67
           Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 56 of 67




information is present for the mobile station, and in the event that the second control information

is not present for the mobile station, receiving second said data packets on the shared data channel

using the stored transport format parameters from the first control information.”

       112.     The applicable standards covered by the claims of the ’119 Patent, including but

not limited to 3GPP TS 36.321 V10.3.0 (2011-09), describe a mobile station configured to after

receiving the first data packets, determine, using the mask for the mobile station, whether second

control information is present for the mobile station, and in the event that the second control

information is not present for the mobile station, receiving second said data packets on the shared

data channel using the stored transport format parameters from the first control information:

       5        MAC procedures

       ....

       5.10     Semi-Persistent Scheduling

       ....

       5.10.1 Downlink

       After a Semi-Persistent downlink assignment is configured, the UE shall consider
       that the assignment recurs in each subframe for which:

            -   (10 * SFN + subframe) = [(10 * SFNstart time + subframestart time) + N *
                semiPersistSchedIntervalDL] modulo 10240, for all N>0.

       Where SFNstart time and subframestart time are the SFN and subframe, respectively, at
       the time the configured downlink assignment were (re-)initialised.

(3GPP TS 36.321 V10.3.0 (2011-09), at 31–32.)

       113.     In addition, the applicable standards covered by the claims of the ’119 Patent,

including but not limited to 3GPP TS 36.213 V10.3.0 (2011-09), describe a mobile station

configured to after receiving the first data packets, determine, using the mask for the mobile

station, whether second control information is present for the mobile station, and in the event that

the second control information is not present for the mobile station, receiving second said data


                                                                                     Page 56 of 67
           Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 57 of 67




packets on the shared data channel using the stored transport format parameters from the first

control information:

       7         Physical downlink shared channel related procedures

       ....

       7.1       UE procedure for receiving the physical downlink shared channel

       ....

       If a UE is configured by higher layers to decode PDCCH with CRC scrambled by
       the SPS C-RNTI, the UE shall decode the PDCCH on the primary cell and any
       corresponding PDSCH on the primary cell according to the respective
       combinations defined in Table 7.1-6. The same PDSCH related configuration
       applies in the case that a PDSCH is transmitted without a corresponding PDCCH.
       The scrambling initialization of PDSCH corresponding to these PDCCHs and
       PDSCH without a corresponding PDCCH is by SPS C-RNTI.

       When a UE is configured in transmission mode 7, scrambling initialization of UE-
       specific reference signals corresponding to these PDCCHs is by SPS C-RNTI.

       When a UE is configured in transmission mode 9, in the subframes indicated by the
       higher layer parameter mbsfn-SubframeConfigList except in subframes for the
       serving cell

             -   indicated by higher layers to decode PMCH or,

             -   configured by higher layers to be part of a positioning reference signal
                 occasion and the positioning reference signal occasion is only configured
                 within MBSFN subframes and the cyclic prefix length used in subframe #0
                 is normal cyclic prefix,

       the UE shall upon detection of a PDCCH with CRC scrambled by the SPS C-RNTI
       with DCI format 1A or 2C or for a configured PDSCH without PDCCH intended
       for the UE, decode the corresponding PDSCH in the same subframe.

(3GPP TS 36.213 V10.3.0 (2011-09), at 23, 26–27.)

       114.      Claim 1 of the ’119 Patent requires a mobile station configured to “after receiving

the second data packets, determine, using the mask for the mobile station, whether third control

information is present for the mobile station, and in the event that the third control information is

present for the mobile station, receiving third said data packets on the shared data channel using



                                                                                      Page 57 of 67
           Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 58 of 67




the third control information, and storing or not storing the transport format parameters from the

third control information according to the indicator in the third control information indicating

whether the transport format parameters are to be stored.”

       115.    The applicable standards covered by the claims of the ’119 Patent, including but

not limited to 3GPP TS 36.321 V10.3.0 (2011-09), describe a mobile station configured to after

receiving the second data packets, determine, using the mask for the mobile station, whether third

control information is present for the mobile station, and in the event that the third control

information is present for the mobile station, receiving third said data packets on the shared data

channel using the third control information, and storing or not storing the transport format

parameters from the third control information according to the indicator in the third control

information indicating whether the transport format parameters are to be stored:

       5       MAC procedures

       ....

       5.3     DL-SCH data transfer

       5.3.1   DL Assignment reception

       Downlink assignments transmitted on the PDCCH indicate if there is a transmission
       on a DL-SCH for a particular UE and provide the relevant HARQ information.

       When the UE has a C-RNTI, Semi-Persistent Scheduling C-RNTI, or Temporary
       C-RNTI, the UE shall for each TTI during which it monitors PDCCH and for each
       Serving Cell:




                                                                                    Page 58 of 67
Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 59 of 67




 -   if a downlink assignment for this TTI and this Serving Cell has been
     received on the PDCCH for the UE’s C-RNTI, or Temporary C RNTI:

     -   if this is the first downlink assignment for this Temporary C-RNTI:

         -   consider the NDI to have been toggled.

     -   if the downlink assignment is for UE’s C-RNTI and if the previous
         downlink assignment indicated to the HARQ entity of the same HARQ
         process was either a downlink assignment received for the UE’s Semi-
         Persistent Scheduling C-RNTI or a configured downlink assignment:

         -   consider the NDI to have been toggled regardless of the value of the
             NDI.

     -   indicate the presence of a downlink assignment and deliver the
         associated HARQ information to the HARQ entity for this TTI.

 -   else, if this Serving Cell is the PCell and a downlink assignment for this TTI
     has been received for the PCell on the PDCCH of the PCell for the UE’s
     Semi-Persistent Scheduling C-RNTI:

     -   if the NDI in the received HARQ information is 1:

         -   consider the NDI not to have been toggled;

         -   indicate the presence of a downlink assignment and deliver the
             associated HARQ information to the HARQ entity for this TTI.

     -   else, if the NDI in the received HARQ information is 0:

         -   if PDCCH contents indicate SPS release:

             -   clear the configured downlink assignment (if any);

             -   if timeAlignmentTimer is running:

                 -   indicate a positive acknowledgement for the downlink SPS
                     release to the physical layer.

         -   else:

             -   store the downlink assignment and the associated HARQ
                 information as configured downlink assignment;

             -   initialise (if not active) or re-initialise (if already active) the
                 configured downlink assignment to start in this TTI and to recur
                 according to rules in subclause 5.10.1;



                                                                             Page 59 of 67
           Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 60 of 67




                       -   set the HARQ Process ID to the HARQ Process ID associated
                           with this TTI;

                       -   consider the NDI bit to have been toggled;

                       -   indicate the presence of a configured downlink assignment and
                           deliver the stored HARQ information to the HARQ entity for
                           this TTI.

(3GPP TS 36.321 V10.3.0 (2011-09), at 12, 18.)

       116.    Claim 1 of the ’119 Patent requires a mobile station “wherein the third control

information used for receiving the third data packets is different from the first control information

used for receiving the first and second data packets.”

       117.    The applicable standards covered by the claims of the ’119 Patent, including but

not limited to 3GPP TS 36.321 V10.3.0 (2011-09), describe a mobile station “wherein the third

control information used for receiving the third data packets is different from the first control

information used for receiving the first and second data packets:

       5       MAC procedures

       ....

       5.3     DL-SCH data transfer

       5.3.1   DL Assignment reception

       Downlink assignments transmitted on the PDCCH indicate if there is a transmission
       on a DL-SCH for a particular UE and provide the relevant HARQ information.

       When the UE has a C-RNTI, Semi-Persistent Scheduling C-RNTI, or Temporary
       C-RNTI, the UE shall for each TTI during which it monitors PDCCH and for each
       Serving Cell:




                                                                                      Page 60 of 67
Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 61 of 67




 -   if a downlink assignment for this TTI and this Serving Cell has been
     received on the PDCCH for the UE’s C-RNTI, or Temporary C RNTI:

     -   if this is the first downlink assignment for this Temporary C-RNTI:

         -   consider the NDI to have been toggled.

     -   if the downlink assignment is for UE’s C-RNTI and if the previous
         downlink assignment indicated to the HARQ entity of the same HARQ
         process was either a downlink assignment received for the UE’s Semi-
         Persistent Scheduling C-RNTI or a configured downlink assignment:

         -   consider the NDI to have been toggled regardless of the value of the
             NDI.

     -   indicate the presence of a downlink assignment and deliver the
         associated HARQ information to the HARQ entity for this TTI.

 -   else, if this Serving Cell is the PCell and a downlink assignment for this TTI
     has been received for the PCell on the PDCCH of the PCell for the UE’s
     Semi-Persistent Scheduling C-RNTI:

     -   if the NDI in the received HARQ information is 1:

         -   consider the NDI not to have been toggled;

         -   indicate the presence of a downlink assignment and deliver the
             associated HARQ information to the HARQ entity for this TTI.

     -   else, if the NDI in the received HARQ information is 0:

         -   if PDCCH contents indicate SPS release:

             -   clear the configured downlink assignment (if any);

             -   if timeAlignmentTimer is running:

                 -   indicate a positive acknowledgement for the downlink SPS
                     release to the physical layer.

         -   else:

             -   store the downlink assignment and the associated HARQ
                 information as configured downlink assignment;

             -   initialise (if not active) or re-initialise (if already active) the
                 configured downlink assignment to start in this TTI and to recur
                 according to rules in subclause 5.10.1;



                                                                             Page 61 of 67
           Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 62 of 67




                       -   set the HARQ Process ID to the HARQ Process ID associated
                           with this TTI;

                       -   consider the NDI bit to have been toggled;

                       -   indicate the presence of a configured downlink assignment and
                           deliver the stored HARQ information to the HARQ entity for
                           this TTI.

(3GPP TS 36.321 V10.3.0 (2011-09), at 12, 18.)

       118.    Upon information and belief, the Tesla Standard-Compliant Products comply or

have complied with the applicable standards covered by the claims of the ‘119 Patent, including

without limitation 3G and/or 4G/LTE, and therefore infringe the ‘119 Patent, including at least

Claim 1.

       119.    The Tesla Standard-Compliant Products have complied, and continue to comply,

with 3GPP TS 36.321 V10.3.0 (2011-09).

       120.    The Tesla Standard-Compliant Products have complied, and continue to comply,

with 3GPP TS 36.213 V10.3.0 (2011-09).

       121.    The Tesla Standard-Compliant Products have complied, and continue to comply,

with 3GPP TS 36.212 V11.4.0 (2013-12).

       122.    Tesla is infringing claims of the ‘119 Patent, including at least Claim 1, literally

and/or pursuant to the doctrine of equivalents.

       123.    In violation of 35 U.S.C. § 271(b), Tesla is and has been infringing one or more of

the ‘119 Patent’s claims, including at least Claim 1, indirectly by inducing the infringement of the

‘119 Patent’s claims by third parties, including without limitation manufacturers, resellers, and/or

users of Tesla’s Standard-Compliant Products, in this District, and elsewhere in the United States.




                                                                                     Page 62 of 67
         Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 63 of 67




Direct infringement is the result of activities performed by users of the Tesla Standard-Compliant

Products in accordance with the claims of the ’119 Patent.

       124.    Tesla’s affirmative acts of selling the Tesla’s Standard-Compliant Products,

causing the Tesla Standard-Compliant Products to be manufactured and distributed, providing

instructive materials and information concerning operation and use of the Tesla

Standard-Compliant Products, and maintenance/service for such products, induced users of the

Tesla Standard-Compliant Products to infringe the ‘119 Patent’s claims by using the vehicles in

their normal and customary way. By and through these acts, Tesla knowingly and specifically

intends the users of the Tesla Standard-Compliant Products to infringe the ‘119 Patent’s claims.

Tesla (1) knows and knew of the ‘119 Patent since at least prior to the filing of this lawsuit,

(2) performs affirmative acts that constitute induced infringement, and (3) knows or should know

that those acts would induce actual infringement of one or more of the ‘119 Patent’s claims by

users of the Tesla Standard-Compliant Products.

       125.    In violation of 35 U.S.C. § 271(c), Tesla is and has been infringing one or more of

the ‘119 Patent’s claims, including at least Claim 1, indirectly by contributing to the infringement

of the ‘119 Patent’s claims by third parties, including without limitation manufacturers, resellers,

and/or users of the Tesla Standard-Compliant Products, in this District, and elsewhere in the United

States. Direct infringement is the result of activities performed by manufacturers, resellers, and/or

users in relation to the Tesla Standard-Compliant Products, including without limitation use of the

Tesla Standard-Compliant Products.

       126.    Upon information and belief, Tesla at least installs, configures, and sells Tesla

Standard-Compliant Products with distinct and separate hardware and/or software components

especially made or especially adapted to practice the invention claimed in the ‘119 Patent. That




                                                                                      Page 63 of 67
         Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 64 of 67




hardware and/or software is a material part of the invention. That hardware and/or software is not

a staple article or commodity of commerce because it is specifically designed to perform the

claimed functionality. Any other use of that hardware and/or software would be unusual, far-

fetched, illusory, impractical, occasional, aberrant, or experimental.

       127.    Therefore, upon information and belief, Tesla is making, using, offering to sell,

and/or selling in the United States, and/or importing into the United States, without authority, a

component of a patented machine, manufacture, combination or composition, or a material or an

apparatus for use in practicing a patented process, constituting a material part of the invention,

knowing the same to be especially made or especially adapted for use in infringement of a patent,

and not a staple article or commodity of commerce suitable for substantial noninfringing use.

       128.    As explained above, Tesla had actual notice of the ‘119 Patent prior to this lawsuit

being filed and had knowledge of the infringing nature of its activities. Nevertheless, Tesla

continued its infringing activities.

       129.    Instead of taking a FRAND license to Conversant’s patent portfolio, Tesla

continues, in bad faith, to directly and indirectly infringe Conversant’s patents, including the

’119 Patent by making, using, offering for sale and selling infringing Tesla Standard-Compliant

Products, and inducing and contributing to the infringement of others.

       130.    Therefore, upon information and belief, Tesla’s infringement of the ‘119 Patent’s

claims, including at least Claim 1, has been and continues to be willful entitling Conversant to




                                                                                    Page 64 of 67
         Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 65 of 67




increased damages pursuant to 35 U.S.C. § 284 and to attorneys’ fees and costs incurred in

prosecuting this action pursuant to 35 U.S.C. § 285.

        131.    Tesla’s acts of infringement have caused damages to Conversant, and Conversant

is entitled to recover from Tesla the damages sustained by Conversant as a result of Tesla’s

wrongful acts in an amount to be determined at trial.

                                          DAMAGES

        132.    Tesla’s acts of infringement are and were committed intentionally, knowingly, and

with callous disregard of Conversant’s legitimate rights. Conversant is therefore entitled to and

now seeks to recover exemplary damages in an amount not less than the maximum amount

permitted by law.

        133.    As a result of Tesla’s acts of infringement, Conversant has suffered actual and

consequential damages. To the fullest extent permitted by law, Conversant seeks recovery of

damages in an amount to compensate for Tesla’s infringement. Conversant further seeks any other

damages to which Conversant would be entitled to in law or in equity.

                                       ATTORNEYS’ FEES

        134.    Conversant is entitled to recover reasonable and necessary attorneys’ fees under

applicable law.

                                    DEMAND FOR JURY TRIAL

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Conversant demands a trial

by jury on all issues so triable.

                                      PRAYER FOR RELIEF

        Conversant respectfully requests that the Court enter preliminary and final orders,

declarations, and judgments against Tesla as are necessary to provide Conversant with the

following relief:


                                                                                   Page 65 of 67
     Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 66 of 67




a.       A judgment that Tesla has infringed and/or is infringing one or more claims of the

         ’205 Patent, literally or under the doctrine of equivalents, and directly or indirectly;

b.       A judgment that Tesla’s infringement of the ’205 Patent has been willful;

c.       A judgment that Tesla has infringed and/or is infringing one or more claims of the

         ’357 Patent, literally or under the doctrine of equivalents, and directly or indirectly;

d.       A judgment that Tesla’s infringement of the ’357 Patent has been willful;

e.       A judgment that Tesla has infringed and/or is infringing one or more claims of the

         ’119 Patent, literally or under the doctrine of equivalents, and directly or indirectly;

f.       A judgment that Tesla’s infringement of the ’119 Patent has been willful;

g.       An award for all damages arising out of Tesla’s infringement, together with

         prejudgment and post-judgment interest, jointly and severally, in an amount

         according to proof, including without limitation attorneys’ fees and litigation costs

         and expenses;

h.       Any future compensation due to Conversant for Tesla’s infringement (past, present

         or future) not specifically accounted for in a damages award (or other relief), and/or

         permanent injunctive relief;

i.       An award of reasonable attorneys’ fees as provided by 35 U.S.C. § 285 and

         enhanced damages as provided by 35 U.S.C. § 284; and

j.       All further relief in law or in equity as the Court may deem just and proper.




                                                                                  Page 66 of 67
       Case 6:20-cv-00324-ADA Document 1 Filed 04/24/20 Page 67 of 67




Dated: April 24, 2020                 Respectfully submitted,

                                      /s/ Jamie H. McDole
                                      Jamie H. McDole
                                      State Bar No. 24082049
                                      Michael D. Karson
                                      State Bar No. 24090198
                                      Nadia E. Haghighatian
                                      State Bar No. 24087652
                                      THOMPSON & KNIGHT LLP
                                      One Arts Plaza
                                      1722 Routh St., Suite 1500
                                      Dallas, Texas 75201
                                      Tel.: 214.969.1700
                                      Fax: 214.969.1751
                                      Email: jamie.mcdole@tklaw.com
                                              michael.karson@tklaw.com
                                              nadia.haghighatian@tklaw.com

                                      Attorneys for Plaintiff
                                      Conversant Wireless Licensing S.A.R.L.




                                                                      Page 67 of 67
